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           IN THE UNITED STATES DISTRICT COURT OF ARKANSAS
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION
JERRI PLUMMER                                         PLAINTIFF

vs.                              Case No. 4:18-CV-63-JM

RHETT MCSWEENEY; DAVID LANGEVIN; et al.                                      DEFENDANTS

                                             ORDER

       On April 13, 2021, the Court held a telephone hearing on Plaintiff’s Motion for Sanctions

against Wesley Blake Barber and Surgical Assistance, Inc. (collectively “the Barber

Defendants”) (Doc.No. 127) and Plaintiff’s Motion to Compel and for Sanctions against these

defendants (Doc. No. 140). Following the hearing, the Barber Defendants filed a status report

(Doc. No. 144), to which Plaintiff filed a response (Doc. No. 145).

       After consideration of the arguments made at the hearing and the subsequent filings by

the parties, the Court finds that the Barber Defendants failed to respond in a complete and timely

manner to the discovery propounded pursuant in violation of the Court’s order to compel (Doc.

No. 124), and sanctions are appropriate. The Barber Defendants are jointly and severally liable

to Plaintiff in the amount of $1,500 in attorneys’ fees for Plaintiffs time to prepare and pursue the

discovery motions. The Court further finds that the Barber Defendants have now fully

responded to the outstanding discovery at issue.

       For these reasons, Plaintiff’s Motion for Sanctions (Doc. No. 127) is GRANTED. The

Barber Defendants have fourteen days to pay Plaintiff the $1,500 sanctions imposed. Plaintiff’s

Motion to Compel and for Sanctions (Doc. No. 140) is DENIED.

       IT IS SO ORDERED this 18th day of May, 2021.

                                                      ___________________________________
                                                      JUDGE JAMES M. MOODY JR.
                                                      United States District Judge
